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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

 

Gary L. Merchant,
Plaintiff
v. Case No.

Corizon Health, Inc., Corizon, L.L.C., COMPLAINT AND DEMAND FOR
Idaho Department of Corrections, Warden JURY TRIAL

Keith Yordy, and John/Jane Does I-X,
Whose true identities are presently
unknown,

Defendants

 

 

COMES NOW Plaintiff, Gary L. Merchant, by and through his attorney of record,
Jason R.N. Monteleone of Johnson & Monteleone, L.L.P., and, for cause(s) of action

against Defendants, alleges, avers, and States as follows:

JURISDICTION
l. The United States District Court for the District of Idaho has jurisdiction over
Plaintiff’s federal claims pursuant to 42 U.S.C. §1983, 42 U.S.C. §1331, and 28 U.S.C.

§1343(3)(3).

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2. The United States District Court for the District of Idaho is an appropriate venue,
pursuant to 28 U.S.C. §139l(b)(2), because a substantial part of the events or omissions

given rise to Plaintiff’ s claims, occurred in this district.

PARTIES
3. Plaintiff, Gary L. Merchant, is now, and at all relevant times herein was, a resident
of Ada County, Idaho, as he has been incarcerated at the Idaho State Correctional
Institution (“ISCI”) located at 13500 S. Pleasant Valley Road, Kuna, ldaho 83634.
4. The Corizon Defendants are private corporations contracted by the Idaho
Department of Corrections (“IDOC”) to provide medical services to prisoners housed at
ISCI.
5. Defendant, IDOC, is a state agency which provides correctional services
throughout the state of Idaho.
6. Defendant Warden Keith Yordy, was the acting warden at ISCI and also its medical
unit, ICC, at all times relevant to this action and is employed by IDOC.
7. At all times relevant to this action, John/Jane Does I through X, whose true
identities are presently unknown (“the Doe Defendants”), Defendants, are now and at all
times relevant to this action were entities or individuals who were the agents, employees,
independent contractors, subdivisions, franchisees, wholly-owned subsidiaries, or

divisions of the Defendants specifically identified herein or are entities or individuals

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acting on behalf of, in a master/servant or principal/agent relationship with, or in concert
with Defendants named herein,
8. At all times relevant to the events described herein, all Defendants were acting

under color of state law and are thus sued in the individual as well as official capacities

FACTS COMMON TO ALL CAUSES OF ACTION

9. Plaintiff realleges the preceding paragraphs as though fully set forth in haec verba.
10. Corizon Defendants, a for-profit corporation, has a history, policy, and/or practice
of denying or delaying prisoners’ medical treatment at the Idaho State Correctional
Institution (“ISCI”), including Plaintiff.

ll. Corizon Defendants has a history of not hiring qualified medical Staff to care for
the prisoners at ISCI.

lZ. Corizon Defendants were responsible for providing medical care and treatment to
Plaintiff during the period of time, while Plaintiff was incarcerated, from early January
2016 until he was transported to St. Luke’s Regional Medical Center (“SLRMC”) in Boise
on February 6, 2016.

l3. ln order to obtain appropriate, medical care and treatment away from the
correctional facility, Plaintiff swallowed a small, pencil sharpener razor blade, so the
correctional personnel would be forced to transport Plaintiff to SLRMC for appropriate,
medical care for his left leg, which had developed a life-threatening infection of the soft

tissues.

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l4. Corizon Defendants breached the local standards of care by failing to properly
evaluate, examine, diagnose, and treat the severe infection that had been roiling in
Plaintiff’ s left leg.

15. Corizon Defendants were clearly ignoring a medical emergency which resulted
from the severe soft tissue infection in Plaintiff s left leg. Corizon Defendants were also
failing to properly care for Plaintiff s Crohn’s Disease and breached the local standards of
care in this regard as well.

l6. Following his transport to SLRMC, Plaintiff was admitted inpatient to SLRMC on
February 7, 2017, into the Critical Care Unit. He was critically ill due to a necrotizing soft
tissue infection of his left leg and he was diagnosed at SLRMC with severe sepsis and
septic shock and was also suffering from severe, abdominal pain and vomiting due to a
flare-up of his Chrohn’s Disease.

17. Due to the seriousness of the left leg infection, Plaintiff was immediately taken to
the operating room for extensive debridement of the dead tissue in Plaintiff’s left leg due
to the soft tissue infection.

18. Ultimately, Plaintiffs left leg was amputated above the knee.

l9. Further, numerous other medical issues developed due to Respondent’s negligence
(i.e. a significant stroke, uncontrollable pain in the amputated leg, removal of a portion of
his intestines which had been damaged due to the untreated Crohn’s Disease, and the
performance of a colostomy).

20. Plaintiff was discharged from SLRMC on March 8, 2016, after an entire month of

inpatient hospitalization

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21. Plaintiff did not receive his prosthetic leg until October 3, 2016, which was seven
(7) months after his discharge from SLRMC. This significant delay led to preventable
complications and further evidences the breaches of the local standards of care by Corizon
Defendants.

22. Corizon Defendants has a history, policy, and/or practice of requiring medical staff
to keep costs down by denying, and/or delaying prisoners’ medical treatment.

23. Defendants exhibited deliberate indifference to Plaintiff’S medical needs, while
Plaintiff was incarcerated at ISCI and a ward of the Idaho Depart of Corrections (“IDOC”).
24. By Corizon Defendants’ history, policies, and/or practices to treat every prisoner
the same regardless of their medical condition, in destroying, concealing, and/or losing
prisoners’ medical records, and by denying and/or delaying prisoners’ medical treatment,
Plaintiff suffered serious, health conditions included, but was not limited to, necrotizing
fasciitis, severe sepsis, with septic shock, encephalopathy, respiratory and renal failure,
cerebral infarction, and/or other significant infection(s) secondary to group A
Streptococcus aureus or other microbes.

25. Corizon Defendants failed to diagnose and treat these serious, health conditions
which Plaintiff was experiencing, while he was incarcerated at the Idaho State Correctional
Institution (hereafter “ISCI”). These conditions caused Plaintiff to have his left leg
amputated above the knee, to suffer a stroke or other vascular and or ischemic events, and
to develop dangerous health conditions. The above-the-knee amputation of Plaintiff’ s left

leg occurred on February 7, 2016.

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26. During the period of time in question (i.e. January and February 2016), Defendants
exhibited deliberate indifference to Plaintiff’s serious, medical conditions and healthcare
needs.

27. Following Plaintiff’s return to ISCI on March 8, 2016, after being discharged from
St. Luke’s Regional Medical Center (“SLRMC”) in Boise, Idaho, Corizon Defendants
continued to provide substandard, medical care and to exhibit deliberate indifference to
Plaintist serious, medical conditions:

28. Further, as Corizon Defendants had repeatedly failed to properly address, monitor,
treat, or otherwise care for Plaintiff’ s serious, medical conditions, Plaintiff was left with no
alternative but to swallow a small, pencil sharpener blade in order to force Corizon
Defendants to transport Plaintiff to an acute care general hospital, which was (hereafter
SLRMC in Boise. This set of circumstances highlights the deliberate which Defendants
exhibited to Plaintiff.

29. Plaintiff has suffered significant tort damages for his personal injuries, including,
but not limited to, the amputation of his left leg above the knee, medical expenses to date,
future medical expenses, pain, suffering, emotional distress, mental anguish, physical
disability, disfigurement, and permanent impairment due to Defendants’ failure to timely
and properly diagnose and treat Plaintiff’s serious, medical conditions necessitating
amputation of his left leg above the knee and also Defendants’ failure to reasonably and
promptly transfer Plaintiff to an acute care general hospital.

30. Plaintiff has exhausted all his administrative remedies regarding all the subject
matters of this complaint and as required by the Prison Litigation Reform Act (PLRA), 42

U.S.C. §1997, et seq.

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31. Plaintiff alleges that his constitutional rights and privileges were violated due to the
inadequate provision of medical care to Plaintiff, while he was incarcerated.

32. By Defendants having a policy and custom in delaying and denying prisoners
medical treatment to save costs in order to make a profit, by Corizon Defendants not hiring
qualified medical staff, and by Defendants having a policy and custom of delivering
substandard, medical care to the inmates in their care and custody, Plaintiff has been
subjected to cruel and unusual punishment in violation of his Eighth Amendment right to
the United States Constitution.

33. Defendants’ custom of not hiring qualified staff to work at ISCI resulted in Gary
Merchant’s medical needs not being addressed and amounted to deliberate indifference to
Plaintiff’s medical needs in violation of his Eighth Amendment right to the United States
Constitution.

34. Due to Corizon Defendants’ failure to treat Gary Merchant’s serious, medical
conditions. Plaintiff suffered an amputation of his left leg above the knee, amounting to
deliberate indifference to Plaintiff’s medical needs in violation of his Eighth Amendment
right to the United States Constitution.

35. Corizon Defendants’ provision of medical care failed to meet the applicable, local
standards of healthcare practice, as set forth in I.C. §§6-1012 and 1013 and amounts to
medical malpractice, negligence, recklessness, willful and wanton conduct, and/or

deliberate indifference to Plaintiff’ s serious, medical needs.

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FIRST CAUSE OF ACTION - VIOLATION OF PLAINTIFF’S CIVIL RIGHTS
PURSUANT T() 42 U.S.C. 51983

36. Plaintiff realleges the preceding paragraphs as though fully set forth in haec verba.
37. This cause of action is asserted against all Defendants.

3 8. Defendants were acting under color of state law while Plaintiff was under their care
and custody and deprived Plaintiff of certain rights, privileges, and/or immunities which
were secured by the United States Constitution and other laws. This deprivation of rights,
privileges, and/or immunities (i.e. deliberate indifference to Plaintiff’ s serious, medical
needs) has caused Plaintiff to suffer damages in amounts to be determined at trial.

39. As a direct and proximate result of Defendants’ deprivation of the rights, privileges,
and/or immunities due Plaintiff, Plaintiff has suffered damages which have been caused by
Defendants.

40. As a result of Defendants’ conduct, Plaintiff has been required to retain the
professional services of legal counsel in order to pursue the instant action to assert her legal
and civil rights, and thus Plaintiff requests an award of attorney fees and costs related to

the prosecution of the instant matter.

SECOND CAUSE OF ACTION - MEDICAL NEGLIGENCE/MALPRACTICE
41. Plaintiff realleges the preceding paragraphs as though fully set forth in haec verba.
42. This cause of action is asserted against all Defendants.

43. Defendants owed Plaintiff duties of care to act reasonably and to provide him with
competent, medical services which complied With the standards of healthcare practice for

the geographic community in and surrounding Boise, Idaho, for the relevant time period.

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44. Defendants breached the duties of care which they owed Plaintiff, failed to provide
competent, medical services to Plaintiff, and breached the local standards of healthcare
practice in the relevant community (i.e. Boise, Idaho, in January and February 2016) during
the relevant time period. The specific breaches of the local standards of care applicable to
this case include, but are not limited to, the following:
a. Failing to properly evaluate, examine, diagnose, and treat Plaintiff’ s
necrotizing, left leg, soft tissue infection;
b. Failing to properly and timely transport Plaintiff to SLRMC;
c. Failing to properly diagnose and treat Plaintiff’ s Crohn’s Disease;
d. In light of Plaintiff’s history of congestive heart failure, a heart attack and
worsening heart failure should have been considered and excluded.
Respondents performed so such investigation Failing to do so was a breach
of the local standard of care;
e. Despite the lack of a proper evaluation, examination, and diagnosis of
Plaintiff’s left leg, Respondent Migliori prescribed Lasix (a diuretic),
resuming a blood thinner (Coumadin), and also prescribed pressure
stockings to control the swelling in Plaintiff’ s left leg. These therapies were
potentially harmful to Plaintiff, particularly the pressure stockings in light
of the necrotizing, soft tissue infection in the left leg. Ordering these
harmful therapies without pursuing a proper diagnosis was a breach of the
local standard of care; and
f. In the week prior to Plaintiff’s hospitalization at SLRMC, Plaintiff had

requested medical care in writing five times. His pleas for proper, medical

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care fell and deaf ears and were not addressed by Respondents. The failure
to properly address these repeated requests for proper, medical care outside
of the correctional facility was a breach of the local standard of care.
45. Defendants’ breaches of the duties of care which they owed Plaintiff and their
violations of the applicable, local Standards of healthcare practice, as outlined above, were
the proximate cause of damages to Plaintiff.
46. As a direct and proximate result of the acts and omissions of Defendants, as well
as their negligent, reckless, willful, wanton, and/or otherwise tortious conduct, Plaintiff has
incurred significant medical bills and other economic, special damages in amounts to be
proven at trial.
47. As a direct and proximate result of the acts and omissions of Defendants, as well
as their negligent, reckless, willful, wanton, and/or otherwise tortious conduct, Plaintiff has
incurred lost wages and/or a loss of future earning capacity in amounts to be proven at trial.
48. As a direct and proximate result of the acts and omissions of Defendants, as well
as their negligent, reckless, willful, wanton, and/or otherwise tortious conduct, Plaintiff has
suffered noneconomic damages for, among other things, pain and suffering, emotional
distress, humiliation, and the loss of the ability to perform daily activities in amounts to be
proved at trial.
49. Plaintiff has been required to retain the services of Johnson & Monteleone, L.L.P.,
in connection with the prosecution of this action and requests that the attorney fees and

litigation costs associated with this representation be paid by Defendants.

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THIRD CAUSE OF ACTION - NEGLIGENT RETENTION. TRAINING.
AND SUPERVISION

50. Plaintiff realleges the foregoing paragraphs as though fillly set forth in haec verba.
51. These causes of action are asserted only against Corizon Defendants.

52. Corizon Defendants repeatedly failed to hire competent, qualified, medical staff at
ISCI, though it had a duty to do so.

53. Corizon Defendants had a duty to properly and reasonably train and supervise their
employees and/or agents who worked with Plaintiff.

54. Corizon Defendants failed to properly supervise and/or train its employees and/or
agents relative to their examination, treatment, reporting, and medical oversight of
Plaintiff,

55. Defendants’ failure to properly supervise and/or train its employees and/or agents
was/were the proximate cause(s) of damages to Plaintiff.

56. As a direct and proximate result of the acts and omissions of Defendants, as well
as their negligent, reckless, willful, wanton, and/or otherwise tortious conduct, Plaintiff has
incurred significant medical bills and other economic, special damages in amounts to be
proven at trial.

57. As a direct and proximate result of the acts and omissions of Defendants, as well
as their negligent, reckless, willful, wanton, and/or otherwise tortious conduct, Plaintiff has
incurred lost wages and/or a loss of future earning capacity in amounts to be proven at trial.
58. As a direct and proximate result of the acts and omissions of Defendants, as well
as their negligent, reckless, willful, wanton, and/or otherwise tortious conduct, Plaintiff has

suffered noneconomic damages for, among other things, pain and suffering, emotional

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distress, humiliation, and the loss of the ability to perform daily activities in amounts to be
proved at trial.

59. Plaintiff has been required to retain the services of Johnson & Monteleone, L.L.P.,
in connection with the prosecution of this action and requests that his attorney fees and

litigation costs associated with this representation be paid by Defendants.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
1. For Plaintiff’ s special and general damages in amounts which may be proven at

trial and which meet the jurisdictional threshold of the District Court;

2. For costs of the action incurred herein;
3. For reasonable attorney fees to be determined by the Court; and
4. For such other and further relief, as this Court deems just, equitable, and proper.

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DATED: This 13 day ofDecember,2017.

JOHNSON & MONTELEONE, L.L.P.
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DEMAND FOR JURY TRIAL

 

Pursuant to F.R.C.P. 38(b), Plaintiffs hereby demand a trial by jury on any and all

issues properly triable by jury in this action.
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DATED: This 25 "Jay of December, 2017.
JOHNSON & MONTELEONE, L.L.P.

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